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               UNITED STATES DISTRICT COURT FOR THE
                     DISTRICT OF NEW HAMPSHIRE



United States of America


     v.                                    Criminal No. 07-252-JD
                                           Opinion No. 2008 DNH 197

Eduardo K. Fernandez-Avalos and
Maria C. Rosario

                                O R D E R


     Codefendants Eduardo K. Fernandez-Avalos (“Fernandez”) and

his mother, Maria C. Rosario (“Rosario”), are charged with

conspiracy to structure financial transactions in violation of 31

U.S.C. § 5324(a)(3).     Before the court are (1) Fernandez’s July

30, 2008, motion to suppress statements he made following his

arrest, (2) Rosario’s July 22, 2008, motion requesting severance,

or, in the alternative, exclusion and/or redaction of the
statements made by Fernandez following his arrest, and (3) her

September 29, 2008, supplemental motion for severance.               The
government opposes the motions, although it did not file a

written objection to Fernandez’s motion to suppress.
     With his motion, Fernandez submitted the affidavits of

himself, his wife, Raquel Fernandez (“Raquel”), and his attorney,

Martin K. Leppo.    With her motion, Rosario submitted a Report of

Investigation completed by the Drug Enforcement Administration

(“DEA 6").   Evidentiary hearings were held on September 29, 2008,
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and October 16, 2008.        Postal Inspector John J. Stassi testified

for the government, and Raquel testified for the defense, with

the aid of an interpreter.        Both Fernandez and the government

submitted documentary evidence, including:           Fernandez’s arrest

warrant (Def. Ex. A), his phone records (Def. Ex. B), and a

signed “Warning and Waiver of Rights” form of the United States

Postal Inspection Service (“USPI”) (Gov’t Ex. 1).              No witnesses

testified, and no additional evidence was submitted in support of

Rosario’s motion.    The following findings of fact are based upon

the above listed materials, the affidavits, and testimony of the

two witnesses at the hearing.



I.   Background

     On December 12, 2007, Fernandez and Rosario were charged in

a federal indictment with conspiracy to structure financial

transactions in violation of 31 U.S.C. § 5324(a)(3), and arrest

warrants were issued.        On December 18, 2007, at 6:00 a.m., Postal

Inspectors Stassi and Julio Santiago, two other postal

inspectors, two DEA Agents, and an officer of the Miami-Dade

police force knocked on the door of Fernandez’s residence in

Miami, Florida.    Fernandez answered the door, and when he stepped

outside, he was arrested and handcuffed.           The officers entered

the residence with Fernandez after he requested permission to get

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dressed.     Inside, Raquel and Rosario were told to sit down and

were asked for their names.           Upon giving her name, Rosario was

arrested as well.       After several requests from Raquel, Stassi

went to his vehicle and produced the arrest warrant which

Fernandez then read.        Raquel asked that she be allowed to make a

call to their attorney.          Her request was denied for safety

reasons, and she was told she could make the call after they

left.    After the officers left with Fernandez and Rosario, Raquel

called their attorney in Massachusetts, Martin Leppo, who was

coincidentally boarding a plane to Florida when he received her

call.    The officers did not tell Raquel where Fernandez and

Rosario were being taken and neither she, nor Attorney Leppo,

were able to locate them until that evening.

     Fernandez and Rosario were transported separately to the

Miami-Dade County police station.               During the ride to the

station, Fernandez stated that he had an attorney.                     Suppression

Hearing Transcript (“Supp. T.”), Day I, at 69.                     At the police

station, Fernandez and Rosario were placed in separate rooms for

questioning.      Stassi testified that it was a “tactical decision”

not to bring them to the federal courthouse right away.                      Supp.

T., Day I, at 57, 80.           He also testified as follows concerning

his understanding of an indicted person’s right to counsel during

questioning:

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     MR. LEPPO: And you knew from that indictment that
Mr. Fernandez would be entitled to have an attorney to
answer to [the] charges; isn’t that right?

     STASSI: I knew that before I asked him any
questions he had the right to confer with an attorney.

     MR. LEPPO: Okay, and you knew that just by being
indicted he would have a right to have an attorney to
represent him in a court of law, right?

     STASSI:    To represent him in a court of law?            Of
course.

     MR. LEPPO: And he would have a right to have an
attorney to represent him if he was arrested and to be
present to see what questions that were going to be
asked of him, correct?

     STASSI:    No.     That is not my procedure.

     MR. LEPPO: So you didn’t know that he would have
a right to have an attorney at all stages of all
proceedings after indictment? You didn’t know that,
sir?

     STASSI:    That’s not the way I operate.

     . . . .

     MR. LEPPO: Are you familiar with your own manual
from the Postal Authority?

     STASSI:    Yes.
     . . . .

     MR. LEPPO: Does it say anything in there as to
when you have to advise somebody of their so-called
Miranda rights?

     STASSI:    Yes.

     MR. LEPPO: Okay, and you do that once a person is
in custody, correct?

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             STASSI:    That is correct.

          MR. LEPPO: But if a person is not in custody and
     you know he’s been indicted, does your manual say
     anything about whether or not you should make an
     inquiry if he has a lawyer?

             STASSI:    I have not done that before.

             MR. LEPPO:     Is it in your manual?

             STASSI:    I don’t know.

Supp. T., Day I, at 43, line 11 through 45, line 16.

     Stassi and Santiago, who spoke Spanish, began the interview

with Fernandez, who stated that he was comfortable with English,

around 7:00 a.m.       Stassi read aloud a USPI “Warning and Waiver of

Rights” form, which contained a statement of Miranda rights, and

presented it to Fernandez.           At 7:07 a.m., Fernandez signed the

portion of the form acknowledging that he read and understood his

rights.     Both inspectors witnessed his signature and signed the

form.    Fernandez refused to sign the waiver portion of the form

and told the inspectors that he would not make any statements

without his attorney.           No questions were posed to Fernandez.

     Stassi then discussed transfer arrangements for Fernandez

and Rosario with Santiago.           Fernandez asked where they were

going, and Stassi told him that he and his mother were going to

be transported to the federal courthouse.              Fernandez stated that

he had changed his mind and would talk if it would help his

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mother.   Stassi told Fernandez that he could not make any

promises in that regard and that they could not talk with him

unless he waived his rights.      The form indicates that the waiver

of rights portion was signed at 7:20 a.m., and Stassi testified

that he saw Fernandez sign it.1

     Stassi told Fernandez that he was arrested for structuring

the purchase of over fifty postal money orders in New Hampshire

and Massachusetts during February of 2007.         Stassi then asked him

who purchased the money orders.      Fernandez responded that there

was “no way” he could have purchased them in two days.               Supp. T.,

Day I, at 21.   Stassi told Fernandez that they had evidence that

he had help and that his mother had been identified from a photo.

Fernandez denied that his mother was involved.              When he was shown

a spreadsheet of all the money orders, Fernandez responded, “In

two days I bought those?”      Supp. T., Day I, at 21.          Stassi said

that the money orders were made payable to Alliance Title for the

purchase of real estate in Grant, Florida.         Fernandez

     1
      There is some dispute regarding the signature on the waiver
portion of the form. At both hearings, the defense argued that
the signature on the waiver portion of the form did not look like
Fernandez’s earlier signature on the acknowledgment portion of
the form. Upon inspection of both signatures, the court
acknowledges that they are dissimilar. However, Inspector Stassi
testified that he witnessed the defendant sign the waiver, and
Fernandez does not argue that he did not sign it. The court,
therefore, accepts the signature on the waiver portion of the
form as belonging to Fernandez.

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acknowledged this was true and stated that the property was

purchased for personal use.

     Stassi then asked questions about a company called Guede L.

Enterprises, his wife Raquel, his current residence, and the

residence of his parents.          Fernandez answered all these

questions.   Stassi also asked about another case where the DEA

found his mother’s name, marked as “Maria the cleaning lady,” and

her phone number in the electronic organizer of an arrested

individual who was found in possession of cocaine.              Rosario Mem.

on Motion to Sever, Ex. A, DEA 6, at 3.            Fernandez explained that

his mother had never been a cleaning lady, that she once owned a

supermarket in Miami, and that she was just a very friendly

person.   Stassi asked him about numerous other individuals and

their relation to him, which Fernandez answered.

     Stassi then asked Fernandez where the money came from for

the money orders, and he responded: “Now that’s the one I’m not

going to talk about.”        Id.    Stassi asked why he went to eight

different post offices, and Fernandez responded that he “had

cash,” it took him “a long time to save that money,” and he

“really wanted that piece of land.”          Id.    The interview

concluded, and Fernandez and Rosario were transported to the

United States District Court for the District of Southern Florida

around 9:00 a.m.

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II.   Discussion

      Fernandez argues that his statements must be suppressed

because they were made in violation of his Fifth and Sixth

Amendment rights, and because there was an unreasonable delay in

bringing him before a magistrate.           Rosario argues that the

admission of these statements at a joint trial would violate her

Sixth Amendment Confrontation Clause rights pursuant to Bruton v.

United States, 391 U.S. 123 (1968), and Crawford v. Washington,

541 U.S. 36 (2004).



      A.   Fernandez - Sixth Amendment Right to Counsel

      The Sixth Amendment provides that “[i]n all criminal

prosecutions, the accused shall enjoy the right . . . to have the

Assistance of Counsel for his defence.”           U.S. Const. amend VI.

The right to counsel is triggered “at or after the time that

judicial proceedings have been initiated . . . ‘whether by way of

formal charge, preliminary hearing, indictment, information, or

arraignment.’”     Fellers v. United States, 540 U.S. 519, 523

(2004) (quoting Brewer v. Williams, 430 U.S. 387, 398 (1977));

see United States v. Coker, 433 F.3d 39, 42 (1st Cir. 2005).

“[T]he Sixth Amendment is violated when the State obtains

incriminating statements by knowingly circumventing the accused’s

right to have counsel present in a confrontation between the

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accused and a state agent.”      Maine v. Moulton, 474 U.S. 159, 176

(1985).   The government may not, therefore, “‘intentionally

creat[e] a situation likely to induce [the accused] to make

incriminating statements without the assistance of counsel.’”

Moulton, 474 U.S. at 174 (quoting United States v. Henry, 447

U.S. 264, 274 (1980)).

     An accused may, however, waive his Sixth Amendment right to

counsel, and he may do so without the presence of counsel.                  See

Fellers, 540 U.S. at 523 (citing Patterson v. Illinois, 487 U.S.

285, 292 (1988)).    A waiver “is valid only when it reflects ‘an

intentional relinquishment or abandonment of a known right or

privilege.’”   Patterson, 487 U.S. at 292 (quoting Johnson v.

Zerbst, 304 U.S. 458, 464 (1938)).         “[T]he accused must ‘know

what he is doing’ so that ‘his choice is made with eyes open.’”

Patterson, 487 U.S. at 292 (brackets omitted) (quoting Adams v.

United States, 317 U.S. 269, 279 (1942)).          The government carries

the burden of establishing that the defendant’s waiver was

executed knowingly, intelligently, and voluntarily.             Patterson,

487 U.S. at 292; Michigan v. Jackson, 475 U.S. 625, 633 (1986).

The court will “indulge every reasonable presumption against

waiver” and all “[d]oubts must be resolved in favor of protecting

the constitutional claim.”      Jackson, 475 U.S. at 633; see also

United States v. Leon-Delfis, 203 F.3d 103, 110 (1st Cir. 2000).

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       To determine the validity of a waiver, the “key inquiry” is

whether the accused was “made sufficiently aware of his right to

have counsel present during the questioning, and of the possible

consequences of a decision to forgo the aid of counsel.”

Patterson, 487 U.S. at 292-93.         The latter inquiry requires that

the accused is aware of “what could be done with any statements

he might make, and therefore, what benefit could be obtained by

having the aid of counsel while making such statements.”                Id. at

294.

       A valid waiver of Fifth Amendment rights may constitute a

knowing and intelligent waiver of the Sixth Amendment right to

counsel in many circumstances.         See id. at 296, n.9; United

States v. Boskic, No. 07-1188, 2008 WL 4648362, at *12, n.17 (1st

Cir. Oct. 22, 2008).       When an accused has retained counsel,

however, a Fifth Amendment waiver may be ineffective in waiving

the Sixth Amendment right to counsel, because “a distinct set of

constitutional safeguards aimed at preserving the sanctity of the

attorney-client relationship takes effect.”            Patterson, 487 U.S.

at 290, n.3; Boskic, 2008 WL 4648362, at *12, n.17.               For example,

“where a suspect was not told that his lawyer was trying to reach

him during questioning,” the Supreme Court has noted that “in the

Sixth Amendment context, [a Miranda] waiver would not be valid.”

Patterson, 487 U.S. at 297, n.9.

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       Moreover, when the defendant actually requests the

assistance of counsel, “the analysis changes markedly.”                Id. at

290, n.3.     In such a case, the waiver is invalid “if police

initiate interrogation after a defendant’s assertion . . . of his

right to counsel.”       Jackson, 475 U.S. at 636.        On the other hand,

if the defendant initiates the conversation and executes a proper

waiver, admission of his statements will not violate his Sixth

Amendment rights.       Patterson, 487 U.S. at 291; Edwards v.

Arizona, 451 U.S. 477, 484-85 (1981); Leon-Delfis, 203 F.3d at

111.

       Fernandez argues that his Sixth Amendment rights were

violated because the interview was commenced without his counsel

present and the Postal Inspectors prevented him and his wife from

contacting his attorney; the waiver was not knowing and

intelligent; and he was interrogated after he had invoked his

right to counsel.       He argues that even if it were shown that he
initiated the conversation with the inspectors after he had

refused to sign the waiver, the statements he made must be
suppressed as the fruit of the preceding Sixth Amendment

violation.

       Fernandez first argues that his Sixth Amendment right to
counsel was violated the moment the interview was commenced

without his counsel present.         Fernandez’s Sixth Amendment right

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to counsel attached when he was indicted on December 12, 2007,

and he therefore had the right to have counsel present when

Inspectors Stassi and Santiago questioned him on December 18,

2007.    The Sixth Amendment generally does not bar government

agents from initiating an interview with an accused and seeking a

waiver of the accused’s right to counsel in the absence of his

counsel.    See Fellers, 540 U.S. at 523; Patterson, 487 U.S. at

291-92; Brewer, 430 U.S. at 406.         Here, however, Fernandez argues

that he was represented by an attorney, that the inspectors were

aware of this at the time of the interview, and that he and his

wife were prevented from contacting the attorney.2

     Both Raquel and Fernandez had informed Stassi that Fernandez

had an attorney.    The inspectors nevertheless made a “tactical

decision” to interview Fernandez at the local police station.                It

is evident from Stassi’s testimony that he did not understand the

right to counsel that an indicted person has during questioning.
Under these circumstances, the inspectors’ initiation of the

interview, in a custodial setting, and in the absence of
Fernandez’s retained attorney, was a violation of Fernandez’s

Sixth Amendment right to counsel.          Cf. United States v. Monti,

     2
      Fernandez argues that he was denied access to a phone after
the interview, and at the federal court. The focus here,
however, is on the facts leading up to and during Fernandez’s
statements which he seeks to suppress.

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557 F.2d 899, 904 (1st Cir. 1977) (“Where . . . defendant clearly

and unequivocally evidenced his desire not to have counsel

present at a self-initiated, non-custodial meeting, it would have

served no useful purpose to have suppressed statements made at

that meeting on the ground of counsel’s absence.”)            The execution

of a Miranda warning and waiver was therefore insufficient to

waive Fernandez’s Sixth Amendment right to counsel.             Patterson,

487 U.S. at 290, n.3; Boskic, 2008 WL 4648362, at *12, n. 17.

Aside from the Miranda warning and waiver, the government

produced no additional evidence of a valid Sixth Amendment waiver

and has therefore failed to meet its burden.           Therefore,

Fernandez’s statements made during his interview with Inspectors

Stassi and Santiago following his arrest are suppressed.

     Given the court’s conclusion on this issue, Fernandez’s

arguments regarding (1) the delay in bringing him before a

magistrate, and (2) the alleged violations of his Fifth Amendment
rights need not be addressed.      Similarly, Rosario’s motion to

sever her trial and to exclude Fernandez’s statements need not be
addressed.

                               Conclusion

     For the foregoing reasons, Fernandez’s motion to suppress
his statements made to USPI Inspectors Stassi and Santiago


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(document no. 43) is granted, and Rosario’s motions to sever

(document nos. 38 and 47) are terminated as moot.

      SO ORDERED.

                                          ____________________________
                                          Joseph A. DiClerico, Jr.
                                          United States District Judge

November 7, 2008
cc:   William E. Christie, Esquire
      Steven M. Gordon, Esquire
      Mark A. Irish, Esquire
      Martin K. Leppo, Esquire
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